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13                            UNITED STATES DISTRICT COURT
14                 NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION
15 CALIFORNIA COALITION FOR WOMEN                         Case No. 4:23-cv-04155
   PRISONERS; R.B.; A.H.R.; S.L.; J.L.; J.M.;
16 G.M.; A.S.; and L.T., individuals on behalf of         DECLARATION OF J
   themselves and all others similarly situated,          L         IN SUPPORT OF
17               Plaintiffs,
                                                          PLAINTIFFS’ MOTIONS FOR
                                                          PRELIMINARY INJUNCTION
18        v.                                              AND PROVISIONAL CLASS
                                                          CERTIFICATION
19 UNITED    STATES OF AMERICA FEDERAL
   BUREAU OF PRISONS, a governmental entity;
20 BUREAU     OF PRISONS DIRECTOR COLETTE
   PETERS, in her official capacity; FCI DUBLIN
21 WARDEN      THAHESHA JUSINO, in her official
   capacity; OFFICER BELLHOUSE, in his
22 individual capacity; OFFICER GACAD, in his
   individual capacity; OFFICER JONES, in his
23 individual capacity; LIEUTENANT JONES, in
   her individual capacity; OFFICER LEWIS, in his
24 individual capacity; OFFICER NUNLEY, in his
   individual capacity, OFFICER POOL, in his
25 individual capacity, LIEUTENANT PUTNAM, in
   his individual capacity; OFFICER SERRANO, in
26 his individual capacity; OFFICER SHIRLEY, in
   his individual capacity; OFFICER SMITH, in his
27 individual capacity; and OFFICER VASQUEZ, in
   her individual capacity,
28               Defendants.
     [4248330.1]
      DECLARATION OF J         L         IN SUPPORT OF PLAINTIFFS’ MOTIONS FOR PRELIMINARY
                         INJUNCTION AND PROVISIONAL CLASS CERTIFICATION
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 1                 I, J      L         , declare:
 2                 1.     I have personal knowledge of the facts set forth herein, and if called as a
 3 witness, I could and would competently so testify. I make this declaration in support
 4 Plaintiffs’ Motions for Preliminary Injunction and Provisional Class Certification.
 5                 2.     I am incarcerated in federal prison and have been incarcerated at FCI Dublin
 6 from September 2020 to present. In the future BOP may transfer me to other BOP
 7 facilities but at any point I could be transferred back to FCI Dublin.
 8                 3.     FCI Dublin’s inadequate systems for preventing, detecting, and responding
 9 to sexual abuse have caused actual harm to myself and others incarcerated at FCI Dublin
10 and put myself and other incarcerated persons at substantial risk of serious harm from
11 sexual assault, harassment, and retaliation from staff.
12                 4.     I have been sexually assaulted, abused, and harassed while at FCI Dublin and
13 I am afraid it could happen again. In July of 2021, Officer Jones supervised me when I
14 worked in the kitchen. Initially Officer Jones would make fun of my weight and call me
15 “big.” However, as time went on, Officer Jones began to flirt with me. One day he asked
16 me to go with him into the walk-in fridge to get him something for his meal, when we got
17 there, he grabbed me and bent me over while rubbing his crotch on my butt through our
18 clothes. A few days later he came and got me from my unit to get his parmesan cheese out
19 of the walk-in freezer. When we got there, he tried to kiss me, but I told him I ate some
20 tuna and so instead he pulled up my shirt, groped me, and sucked on my right breast with
21 his mouth. I was afraid to do anything to stop him and he stopped when he thought he
22 heard someone coming.
23                 5.     The next day I was trying to leave work, but he wanted me to wait. He had
24 me go with him to the warehouse where he locked me in, then left and came back in a
25 different way. There is a room there that used to have a dryer in it with a door that locks.
26 Officer Jones took me to that room, pulled down my pants, and bent me over so that my
27 head was against the wall. He then had vaginal intercourse with me without a condom,
28 pushing into me so hard that my head repeatedly hit the concrete wall. When he was about
     [4248330.1]                                          1
      DECLARATION OF J                 L         IN SUPPORT OF PLAINTIFFS’ MOTIONS FOR PRELIMINARY
                                 INJUNCTION AND PROVISIONAL CLASS CERTIFICATION
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 1 to orgasm, he had me turn around and then ejaculated into my mouth and on part of my
 2 shirt. While this was happening, Officer Poole was in the staff office in the middle of the
 3 kitchen about forty feet from the warehouse. A few days later he started calling me
 4 “Becky” which I understood was slang for giving him oral intercourse. He later started
 5 calling me Becky the slave.
 6                 6.   I told my roommate at the time as well as another incarcerated person about
 7 what was happening. The other incarcerated person I told was also being sexually abused
 8 by Officer Jones. He was playing us against each other so we would not like each other
 9 because he was abusing her too. She became nervous that Officer Jones would likely find
10 out that I told someone about our encounters. Ultimately, Officer Jones did find out and he
11 threatened to beat me up. I was scared to go to mainline because he knew I told someone.
12 One day I went to dinner at grab and go, where you get your meal to take back to your
13 room, and he pulled me to the side and told me he was going to beat my ass because he
14 was pissed but then went on to tell me he understood I needed to get it off my chest but to
15 keep my mouth shut so that “we” don’t get in trouble.
16                 7.   When I arrived at FCI Dublin in 2020, no one provided me with information
17 about my rights under the Prison Rape Elimination Act (PREA). I still have not been
18 provided with information about PREA and they only started posting PREA stuff after I
19 and others reported abuse.
20                 8.   There is no effective way to confidentially report sexual assault and abuse by
21 staff at FCI Dublin. The only methods I am aware of to report sexual assault and abuse by
22 staff are to tell staff, report to SIS, or to send an email to DOJ using the facilities
23 computers. While these messages are not supposed to be read by BOP staff the computers
24 in the facility do not have functioning privacy screens and are positioned so that staff and
25 other incarcerated persons can see what I am typing and who I am sending it to. In the last
26 few months BOP installed what they called “privacy” screens on the computers, but they
27 do not work. They only block people from seeing the screen if they are sitting directly to
28 the side of it, otherwise anyone looking generally at the computers can still see what is
     [4248330.1]                                       2
      DECLARATION OF J              L         IN SUPPORT OF PLAINTIFFS’ MOTIONS FOR PRELIMINARY
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 1 being typed. All other forms of communication, including mail, video calls, phone calls,
 2 and email are heavily monitored by BOP staff. It is also difficult to report to counsel
 3 because staff at FCI Dublin limit access to legal calls and if you are placed in the SHU do
 4 not allow access to phone calls or emails to be able to tell people what is happening. For a
 5 period of time, we could also report to a BOP taskforce but that ended several months ago.
 6                 9.    Staff at FCI Dublin prevent people from reporting sexual assault and abuse
 7 by staff and retaliate against people who do report. The officers now act “odd” and talk
 8 about how scared they are of further PREA complaints. New staff are aggressive and rude
 9 or try to avoid us entirely. Over Martin Luther King Jr. weekend in January 2023 Lt. Jones
10 pat searched all the kitchen workers, including me because I was a part of the kitchen
11 crew, in front of four male officers. Lt. Jones made us put our food trays on the ground
12 with geese poop all over the place and taunted us telling us she loves to send people to the
13 SHU, to “make sure to write your lawyers about this,” and “when you write to your
14 lawyers, make sure you spell my name right. It is J-O-N-E-S,” and made it clear that staff
15 read our emails and letters. None of this started until I and others started meeting with
16 attorneys.
17                 10.   When incarcerated persons report sexual assault and abuse by staff, FCI
18 Dublin and BOP do not seriously investigate the reports. Investigations are frequently
19 delayed and overseen by staff who know and work with the offending staff member.
20 Generally nothing happens as a result. After I was assaulted by Officer Jones I asked a
21 female officer, Officer Tobin, how to report sexual abuse and PREA violations. She told
22 me to report to SIS Lt. Putnum and in approximately May 2022 I did but nothing was done
23 except that Putnum calls me in every couple of months to “check in on me.” I reported my
24 experiences to the FBI and met with them for an interview in August of 2022. No one
25 from FCI Dublin followed up with me further until a couple of months later to check if I
26 was ok and until I filed an emergency administrative remedy regarding the issue because I
27 am afraid something like this could happen again with a different officer due to the lack of
28 any real response or actions from FCI Dublin and BOP.
     [4248330.1]                                       3
      DECLARATION OF J               L         IN SUPPORT OF PLAINTIFFS’ MOTIONS FOR PRELIMINARY
                               INJUNCTION AND PROVISIONAL CLASS CERTIFICATION
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 1                 11.   There is no confidential mental health care available to survivors of sexual
 2 abuse and assault at FCI Dublin. The only outside mental health counseling available to
 3 people at FCI Dublin is through Tri-Valley Care. I was unable to contact Tri-Valley Care
 4 for a long period of time when FCI Dublin was blocking them from coming into the
 5 facility. For a period of time, FCI Dublin allowed Tri-Valley Care to come in and speak
 6 with survivors, but we were limited to only five sessions that are no more than 30 minutes.
 7 The people that come in seem to be volunteers, not licensed clinicians, and while it is
 8 better than nothing it is not sufficient to help me cope with the extensive trauma I am
 9 suffering from. Due to the sexual abuse by Officer Jones, I became extremely depressed
10 and basically never left my room, sleeping most of the time. My roommate became
11 concerned and encouraged me to go to the psychiatrist at the facility and diagnosed me
12 with PTSD, but I still cannot get the care I need.
13                 12.   There is little to no medical care available to survivors of sexual abuse and
14 assault at FCI Dublin. For a period of time there was no medical doctor at the facility and
15 only recently has there been a part-time doctor on-site. The prior doctors, physician
16 assistants, nurses and nurse practitioners have either been walked off, fired, forced to
17 resign, or simply placed in other BOP institutions. Patients are not being seen, given
18 improper or inadequate care, touched inappropriately, and staff violate our HIPAA rights
19 by discussing our medical issues in the presence of other inmates while inside the waiting
20 rooms. Patients are being sent back from sick call and told that they would be rescheduled
21 for appointments which never occurs. Patients are being told that the institution is either
22 short-staffed or there is no staff at all.
23                 13.   Staff at FCI Dublin do not wear body-worn cameras in the facility and while
24 there are some cameras installed in fixed locations in the facility, it is well known that
25 there are no cameras many areas of the facility. The cameras that are installed are
26 enclosed in dark colored glass and it is impossible to tell where they are pointing or
27 whether they are working.
28 / / /
     [4248330.1]                                         4
      DECLARATION OF J               L         IN SUPPORT OF PLAINTIFFS’ MOTIONS FOR PRELIMINARY
                               INJUNCTION AND PROVISIONAL CLASS CERTIFICATION
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